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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                    CRIMINAL ACTION

VERSUS                                                                      NO. 16-32

LOUIS AGE JR.                                                               SECTION: M (1)
LOUIS AGE III
     a/k/a “Big Lou”
RONAL WILSON JR.
KENDRICK JOHNSON
STANTON GUILLORY
     a/k/a “Nan Nan”


                                     ORDER & REASONS

       Before the Court is a motion by defendant Louis Age Jr. for production of jury selection

records pursuant to 28 U.S.C. § 1867(f).1        Age Jr.’s specific requests are detailed in an

attachment to the motion, but he generally seeks information related to the grand jury that

returned the indictment against him in 2017, the petit jury that will try the case in 2020, and jury

selection under the most recently emptied master jury wheel.2 The United States of America (the

“government”) filed a memorandum of law in response to Age Jr.’s motion,3 and Age Jr. filed a

reply in further support of the motion.4 Having considered the parties’ memoranda, the record,

and the applicable law, the Court grants Age Jr.’s motion, subject to the limitations noted in this

Order & Reasons.




       1
         R. Doc. 340.
       2
         R. Doc. 340-2.
       3
         R. Doc. 360.
       4
         R. Doc. 377.
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       The Jury Selection and Service Act of 1968 (“JSSA”), 28 U.S.C. §§ 1861, et seq.,

provides that all litigants in federal court entitled to a trial by jury “shall have the right to grand

and petit juries selected at random from a fair cross section of the community.” 28 U.S.C. §

1861. A citizen cannot be excluded from jury service “on account of race, color, religion, sex,

national origin, or economic status.” Id. § 1862. The JSSA requires each district court to

“devise and place into operation a written plan for random selection of grand and petit jurors that

shall be designed to achieve the objectives of sections 1861 and 1862.” Id. § 1863(a).

       A defendant may challenge the selection of the grand or petit jury by moving to dismiss

the indictment or to stay the proceedings on the ground that the jury was not selected in

compliance with the JSSA. Id. § 1867(a). When a defendant intends to file such a motion, he is

entitled to “inspect, reproduce and copy [the contents of records or papers used by the jury

commission or clerk in connection with the jury selection process] at all reasonable times during

the preparation and pendency of such a motion.” Id. § 1867(f). In Test v. United States, the

Supreme Court held that, under § 1867(f), a litigant “has essentially an unqualified right to

inspect jury lists,” which right “is required not only by the plain text of the statute, but also by

the statute’s overall purpose of insuring ‘grand and petit juries selected at random from a fair

cross section of the community.’” 420 U.S. 28, 30 (1975) (quoting 28 U.S.C. § 1861). “To avail

himself of the right of access to jury selection records, a litigant need only allege that he is

preparing a motion to challenge the jury selection process.” United States v. Royal, 100 F.3d

1019, 1025 (1st Cir. 1996) (finding that district court erred in requiring defendant to show

probable success on the merits as a condition to access records).

       Although a litigant’s right to inspect the jury records is unqualified, federal courts have

recognized that the scope of that right is not unlimited with respect to the materials sought to be



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made available or inspected. See, e.g., United States v. Diaz, 236 F.R.D. 470, 482-83 (N.D. Cal.

2006) (barring access to completed jury questionnaires and lists of all disqualified and excused

persons). In United States v. Rice, the court summarized this authority as follows:

       Despite recognizing defendants’ near-absolute right to inspect jury lists under
       Test, federal courts have uniformly declined to allow unfettered access to all jury-
       related documents and records. See, e.g., Diaz, 236 F.R.D. at 482 (“The right to
       discovery by the Act and Test is not limitless.”); United States v. Carlock, 606 F.
       Supp. 491, 493 (E.D. La.1985) (“the right of access involved here is not without
       limitations”); United States v. Gotti, 2004 WL 2274712, *6 (S.D.N.Y. Oct. 7,
       2004) (“Gotti II”) (defendant making § 1867(f) request “is not entitled to
       unencumbered access to juror information”); United States v. Causey, 2004 WL
       1243912, *9, *18 (S.D. Tex. May 25, 2004) (collecting cases for proposition that
       while a criminal defendant has an essentially unqualified right to inspect master
       list from which members of his grand and/or petit jury were selected, access to
       other jury records can be restricted); United States v. Gotti, 2004 WL 32858, *11
       (S.D.N.Y. Jan. 6, 2004) (“Gotti I” ) (“Moving defendants do not have an absolute
       right of access to all materials relating to the grand jury selection....”). The Act is
       not a license for litigants to rummage at will through all jury-related records
       maintained by the Clerk of Court. Indeed, as one appellate court has explained, §
       1867(f) “provides that the contents of records or papers used by the clerk shall not
       be disclosed unless those records’ contents are shown to be ‘necessary’ for the
       preparation of a motion” alleging substantial failure to comply with the Act.
       United States v. Davenport, 824 F.2d 1511, 1515 (7th Cir. 1987); see also Diaz,
       236 F.R.D. at 482 (“While a defendant has a statutory right to data required for a
       proper assessment of the composition of the panel, the [Act] does not
       automatically permit disclosure of other jury information” without a sworn
       statement showing particularized need). Under that reasoning, then, if certain
       records or papers are not reasonably necessary for preparation of a motion under
       the Act, then the Act does not authorize access to those records or papers.

United States v. Rice, 489 F. Supp. 2d 1312, 1316-17 (S.D. Ala. 2007)

       In this vein, courts have imposed limits on the materials provided. For example, the

Second Circuit has held that a defendant has a right to access only “records and papers already in

existence,” and the jury administrator is not required to analyze data on the defendant’s behalf.

United States v. Miller, 116 F.3d 641, 658 (2d Cir. 1997). Also, the Fourth Circuit has held that

§ 1867(f) does “not entitle [defendant] to the juror qualification questionnaires without some

demonstration of necessity.” United States v. Curry, 993 F.2d 43, 44 (4th Cir. 1993) (citing

                                                 3
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United States v. Davenport, 824 F.2d 1511, 1514-15 (7th Cir. 1987)).                                 Indeed, juror

questionnaires contain a significant amount of personal information and the relevant

demographic data disclosed therein can be obtained from other jury materials. See Rice, 489 F.

Supp. 2d at 1319 (collecting cases). Moreover, courts have been reluctant to provide access to

the names, addresses, and personal identifying information of potential jurors, especially grand

jurors. United States v. Stile, 2014 WL 1908938, at *5 (D. Me. May 13, 2014) (citations

omitted). Therefore, courts have held that “the redaction of personal identifiers, such as name,

address, juror identification number, month and day of birth, and occupation, balances the grand

[and petit] juror’s legitimate right of privacy against the [d]efendant’s right to mount a challenge

to the composition of the grand [or petit] jury.” Id.; see also United States v. Frye, 2006 WL

8425614, at *2 (E.D. La. Apr. 6, 2006) (Vance, J.) (order that defendant’s stand-by counsel be

given access to “information concerning the race, ethnicity, sex, age, and residence, but not

names or street addresses, of prospective jurors in the master and qualified jury wheels from

which the grand jury that returned the … indictment was selected” and “of persons summoned

for service and persons actually empaneled on the grand jury that returned the … indictment”).

         Considering the foregoing authority,

         IT IS ORDERED that the Clerk of Court permit at a reasonable time Richard Bourke,5

counsel for defendant Age Jr.,6 to inspect, reproduce, and copy, existing documents or reports

readily generated by the jury management system that are responsive to the following specific

requests of Age Jr. (as outlined in R. Doc. 340-2) related to the grand jury that returned the

indictment against him in 2017 and the petit jury that will try the case in 2020:


          5
            The government may designate counsel to accompany Mr. Bourke during his inspection or to inspect the
documents or reports separately at another reasonable time.
          6
            The records made available for inspection are to be used only for the purpose of investigating a challenge
to the jury selection process, and counsel is not to share the records with the defendants.

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        1.       The jury plan for this District (Request no. 1 in Schedules 1 and 2);

        2.       The jury lists sought by Request nos. 2 through 7 in Schedules 1 and 2 and those

                 sought by Request nos. 23 and 24 in Schedule 2, subject to the redactions

                 specified in bold below;

        3.       The AO-12s and related documents sought by Request nos. 8 and 9 in Schedules

                 1 and 2, subject to the redactions specified in bold below;

         4.      The names and dates sought by Request nos. 10, 11, 12, 14, 15, 17, 18, 20, and

                 21 in Schedules 1 and 2;

        5.       Any existing documents providing the information sought by Request nos. 13, 16,

                 19, and 22 in Schedules 1 and 2 (subject to the redactions specified in bold

                 below), except that (a) the juror qualification questionnaires shall not be

                 produced because the relevant demographic information included within them is

                 available from other jury materials, and (b) any documents concerning

                 disqualified or exempted jurors shall not be produced because such information

                 is available from the other jury information to be inspected7 or because such

                 records are unnecessary to a fair cross-section challenge.8

However, the Clerk of Court shall redact any and all personal identifiers from all

documents or reports made available for inspection, including, but not limited to, personal

identifiers such as name, street address, juror identification number, month and day of

birth, occupation, and voting status information.




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           Rice, 489 F. Supp. 2d at 1320 (“By definition, all individuals listed in the master wheel who are not
named in the qualified wheel have been disqualified, did not respond, or otherwise were excused; therefore, the
database information concerning these individuals has already been provided.”).
         8
           Id.

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       IT IS FURTHER ORDERED that where one document or record contains information

responsive to more than one item listed in the schedules, the Clerk of Court is not required to

make available multiple copies of the record but may indicate where the requested information is

located in the produced records. To the extent documents are maintained in an electronic format,

they should be made available, where possible, in such electronic format in a manner capable of

being read or reviewed without proprietary software.

       IT IS FURTHER ORDERED that where documents or records responsive to this order

have not yet come into existence but are created prior to the end of the trial in this proceeding,

the Clerk of Court shall make those records or documents available for inspection as they come

into existence.



       New Orleans, Louisiana, this 4th day of March, 2020.




                                                    ________________________________
                                                    BARRY W. ASHE
                                                    UNITED STATES DISTRICT JUDGE




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